         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                        No. 1D2023-2595
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SILAS KENDRICKS,

    Appellant,

    v.

RICKY D. DIXON, Secretary,
Florida Department of
Corrections,

    Appellee.
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On appeal from the Circuit Court for Leon County.
John C. Cooper, Judge.

                       August 27, 2024


PER CURIAM.

    AFFIRMED.

OSTERHAUS, C.J., and LEWIS and ROBERTS, JJ., concur.

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    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Silas Kendricks, pro se, Appellant.

Ashley Moody, Attorney General, and Claudia P. Humphrey,
Assistant Attorney General, Tallahassee, for Appellee.




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